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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6
     UNITED STATES OF AMERICA,                         )
 7                                                     )
                               Plaintiff,              )    Case No. MJ 08-526
 8                                                     )
           v.                                          )
 9                                                     )    DETENTION ORDER
     GABRIEL K. JANG,                                  )
10                                                     )
                               Defendants.             )
11                                                     )

12   Offense charged:

13         Wire Fraud and Aggravated Identification Theft.

14    Detention Hearing: November 25, 2008.

15         The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and

16    based upon the factual findings and statement of reasons for detention hereafter set forth, finds

17    that no condition or combination of conditions which the defendant can meet will reasonably

18    assure the appearance of the defendant as required and the safety of any other person and the

19    community.

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21         (1)     Defendant is charged with offenses spanning four years and involving millions of

22    dollars in losses. The offenses involve co-conspirators in this state and other states including

23    Oregon and Georgia. Defendant has prior criminal history involving fraud and theft. Although


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 1    much of defendant’s assets have been seized, there are still significant assets which are not

 2    accounted for. The government for instance has proffered that it cannot account for $51,000 in

 3    cash.

 4            (2)   The government also proffered that defendant has the ability to manufacture

 5    identification documents that would allow him to leave the country or evade arrest.

 6            It is therefore ORDERED:

 7            (1)   Defendant shall be detained pending trial and committed to the custody of the

 8    Attorney General for confinement in a correctional facility separate, to the extent practicable,

 9    from persons awaiting or serving sentences, or being held in custody pending appeal;

10            (2)   Defendant shall be afforded reasonable opportunity for private consultation with

11    counsel;

12            (3)   On order of a court of the United States or on request of an attorney for the

13    Government, the person in charge of the correctional facility in which defendant is confined shall

14    deliver the defendant to a United States Marshal for the purpose of an appearance in connection

15    with a court proceeding; and

16            (4)   The clerk shall direct copies of this order to counsel for the United States, to counsel

17    for the defendant, to the United States Marshall, and to the United States Pretrial Services Officer.

18            DATED this 25th day of November, 2008.

19

20                                                         A
                                                           BRIAN A. TSUCHIDA
21                                                         United States Magistrate Judge

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     DETENTION ORDER -2
